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1                              MS. KRAMER:           Counsel, I would ask that
2          we have the witness be in a room by herself, just for
3          the purposes of the deposition --
4                              THE WITNESS:            Okay.
5                              MS. KRAMER:           -- if possible.
6                              MS. FORD:          Jocelyn, is it easy enough
7          to ask your friend to go to a different room?
8                              THE WITNESS:            Yeah; they can go to a
9          different room.
10                             MS. FORD:          Okay.
11                             THE WITNESS:            They're working from
12         home, so give me one second.
13                             REPORTER:          Did we want to go off the
14         record, or just stand by for a second?
15                             MS. KRAMER:           I would just stand by for
16         a second, unless it takes longer than, you know, 30
17         seconds.
18                             REPORTER:          Okay.
19                             THE WITNESS:            Okay.
20         BY MS. KRAMER:
21                  Q   Thank you.         And since I'm not in the actual
22         room with you, I'm not able to see what you have in
23         front of you or if someone else enters the room.                          Can
24         you let me know if someone does enter the room at any
25         point during this deposition?

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1                   A   Yes.     I can.

2                   Q   Thank you.        And then, Ms. Heredia, do you

3         understand that you cannot ask your attorney's help to

4         respond to a particular question that's asked?

5                   A   I understand.

6                   Q   Okay.     And your attorney may object to a

7         question that I ask, but you should still respond

8         unless your attorney instructs you not to respond.

9         Does that make sense?

10                  A   That makes sense.

11                  Q   Okay.     And finally, if at any time you need

12        a break, just let me know, and we can go off the

13        record for five or ten minutes if that's needed.

14        Hopefully it won't take too long, so that won't be

15        necessary, but if you need a break, just let me know.

16                  A   Sounds good.

17                  Q   Okay.

18                              MS. KRAMER:        And at this time, can we

19        please put up what is marked as Exhibit A?

20                              TECH CONCIERGE:          Please stand by.        This

21        is Exhibit A.

22                              (Exhibit A was marked for

23                              identification.)

24        BY MS. KRAMER:

25                  Q   Ms. Heredia, can you see this document?

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1                   A   Yes.

2                   Q   Do you recognize this document?

3                   A   Yes, I do.

4                   Q   Okay.     I just want to confirm that you

5         understand that you're appearing today pursuant to

6         this Notice.

7                   A   I understand.

8                   Q   Great.      Okay.      So I just have some

9         background questions I want to start with.

10                              MS. KRAMER:        Bailey, you can take the

11        exhibit off.         Thank you.

12                  Q   Ms. Heredia, where is your current address

13        in Georgia?

14                  A   It is in Banks County.              It is -- the actual

15        address is 304 Borders Road, Commerce, Georgia 30530.

16                  Q   And how long have you resided there for?

17                  A   That's a tough question.                Approximately four

18        years.

19                  Q   And are you registered to vote from this

20        address?

21                  A   Yes.

22                  Q   How long have you voted from that address?

23                  A   So I can't recall, but I did vote from that

24        address for the presidential election and the -- the

25        special election.

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1                   Q   Okay.    So the November election -- the 2020

2         election -- and the January runoff?

3                   A   That's correct.

4                   Q   Okay.    Great.       And what is your current

5         occupation?

6                   A   I am a remote worker, and I'm a researcher.

7                   Q   For what company?

8                   A   For AT&T.

9                   Q   What kind of research do you do for AT&T?

10                  A   User experience research.

11                  Q   And that's the only company that you

12        currently work for?

13                  A   That's correct.

14                  Q   Okay.    And how long have you worked there

15        since?

16                  A   Approximately -- less than two years.

17                  Q   Okay.    Great.       When did you live in Atlanta,

18        Georgia?

19                  A   I lived in Atlanta in January and February

20        of 2020.

21                  Q   And why did you live in Atlanta during those

22        two months?

23                  A   Sure.    For this job, the AT&T job, I -- so

24        I -- I got the job, and it was a temporary position at

25        the time, so I moved to Atlanta for the job.

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1                   Q   Okay.     And when you moved there for your

2         job, did you change your mailing address to reflect

3         where you lived in Atlanta for that job?

4                   A   I did.

5                   Q   And it was just a temporary job?

6                   A   Yes.     At the time it was.

7                   Q   So you changed your address with the Postal

8         Service.      And did you change it back once you moved

9         from Atlanta?

10                  A   I did not.       Because I still had access to

11        the apartment, so, you know, if I needed the mail, I

12        could get it.         And to be honest, I don't even get that

13        much mail.

14                  Q   Did you have intentions of moving back to

15        that address, if you kept your mailing address in

16        Atlanta?

17                  A   That's hard to say.            So in March, the

18        COVID-19 pandemic hit, and we were told that we would

19        be remote.      And we were told that we -- that they

20        weren't even sure when we would go back to the office.

21        So, you know, I would be remote until my job told me

22        that I had to be in person.

23                  Q   Have you been in person with that job yet?

24                  A   In February, yes.

25                  Q   Of this year?

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1                   A      Of 2020.

2                   Q      So -- sorry; I guess I'll clarify.                   You're

3         working remotely right now; is that what you --

4                   A      Correct.

5                   Q      Okay.    And so, since February of last year,

6         have you gone back to working in person in Atlanta?

7                   A      No.

8                   Q      Okay.    And is your mailing address still in

9         Atlanta?

10                  A      It's not.

11                  Q      It's not.       Okay.      When did you change your

12        address?

13                  A      I changed it -- I can't recall the exact

14        date, but I -- so we were supposed to be back into the

15        office in October, and then our job told us that we

16        would have to -- oh.              And then in September, our job

17        told us that we would not go back into the office for

18        the rest of this year, and we would be remote

19        indefinitely, until they let us know otherwise.                          So

20        recently I changed my address back to Banks County,

21        because I don't know where I'll be.                       But ...

22                  Q      Okay.    Okay.      Thanks for clarifying that.

23        Okay.         Let's start with a few questions just about the

24        2020 election.           Did you vote in the 2020 primary

25        election?

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1                   A    That's correct.          I did not see her seal the

2         ballot.

3                   Q    Did you see any other people at the polling

4         location that day, while you were there, have to fill

5         out a paper ballot?

6                   A    Yes.    I did, actually.            A lady behind me.

7         She was, I believe, of Asian descent; I can't confirm.

8         She looked Asian -- of Asian descent.                      She also had to

9         fill out a paper ballot.

10                  Q    And when she finished filling out that

11        ballot, did you see where her ballot was placed?

12                  A    I did not.       So I was in line before her, so,

13        you know, I -- I gave my ballot with the envelope to

14        the worker, and she said that I would need to provide

15        two forms of identification with my mailing address in

16        order for my vote to count.                And then that's when she

17        went to the hallway, into a room.

18                       And then at the same time, I could see that

19        this lady that was behind me was filling out a paper

20        ballot.       But then at that point I left to go to

21        find -- either go home to find two forms of

22        identification, or -- I was going to -- I was going to

23        check my car to see if I had two forms of

24        identification there.             So I didn't actually see what

25        happened to her ballot.

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1                   Q   Okay.     And I just want to clarify that

2         before you gave your ballot to the election worker, or

3         who you believe was the election worker, you did place

4         it in the envelope.           Right?

5                   A   No.     I did not place it in the envelope.

6                   Q   Okay.     So you gave her the open ballot and

7         then the envelope in the other hand?                    Or did she have

8         the envelope?         I'm just trying to figure out how --

9                   A   Yeah.     So I provided the envelope, and then

10        I provided my ballot.            But I can't remember if I

11        folded it or I just gave it to her.                    But I do remember

12        that I did not put it inside the envelope.                         And I did

13        not seal it --

14                  Q   Okay.

15                  A   -- I provided both.

16                  Q   Okay.     Thanks for clarifying that.                  And then

17        I just want to touch real fast on the lady behind you.

18        You said she was filling out a provisional ballot.                          Do

19        you know why she was?

20                  A   I don't know.

21                  Q   Okay.     So you don't know if the lady behind

22        you was a voter being challenged or if she chose to

23        vote on a paper ballot?

24                  A   I -- I don't know.            Yeah.      I -- I wasn't --

25        like, they would talk to the people individually.                          So

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1         I -- I don't -- I don't know.                  I didn't overhear

2         anything.

3                   Q   Okay.    So they talked to her individually.

4         So when the election worker told you that your vote

5         was being challenged, did they talk to you

6         individually about that as well?

7                   A   Yes, they did.         And it wasn't, like,

8         individually, like, in a room or anything.                         It was --

9         you know, people are around; there's people close by

10        submitting their ballot in -- on a machine; there's

11        people in line.        But she would keep her voice down

12        when she was speaking to -- to certain people.

13                  Q   Okay.    So she didn't, like, raise her voice

14        when she was telling you that you were being

15        challenged.      It wasn't some announcement to the

16        polling location.

17                  A   Right.     It wasn't an announcement.                  But

18        whoever was voting by paper ballot, they would make --

19        you know, they made me and the other woman step aside

20        as other people were able to cast their ballot on the

21        machine.

22                  Q   Okay.    But it was not public why people were

23        voting by paper ballot, based on your experience?

24                  A   While I was there, it was not public.                        But I

25        do know that my name, along with other challenged

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1         voters' names, were published on the Banks County

2         website.      And it was public information for six

3         months.

4                   Q   Okay.

5                               MS. KRAMER:        Bailey, can we please pull

6         up Exhibit E?

7                               TECH CONCIERGE:          This is Exhibit E.

8                               (Exhibit E was marked for

9                               identification.)

10        BY MS. KRAMER:

11                  Q   Ms. Heredia, does this look familiar to

12        you -- this PDF of the website of Banks County?

13                  A   Yes.     That's familiar.           That's what I was

14        referencing --

15                  Q   Okay.

16                  A   -- in my previous question.

17                  Q   Okay, perfect.         So can you tell me who -- or

18        I guess can you clarify:             This is obviously the Banks

19        County website, and not another organization's website

20        that has, I guess, the challenge list that you're

21        referring to?

22                  A   Correct.      This is the Banks County website.

23                  Q   Okay.     And was this challenge list published

24        on any other website, to your knowledge?

25                  A   To my knowledge, no.             But anything that's on

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1         the internet can be downloaded, replicated, put

2         elsewhere.      So it could be anywhere else.

3                   Q   I understand that.            But I'm just kind of

4         more asking that to your knowledge, that you know of,

5         you have not seen this challenge list any other place

6         but the Banks County website?

7                   A   Correct.

8                   Q   Okay.     Give me one second, Ms. Heredia.                      On

9         this website, did you personally ever click or

10        download the challenge list?

11                  A   I clicked on it, but I did not download

12        it -- downloaded it for my reference.

13                  Q   Do you know of anybody that did download it?

14                  A   I'm not.

15                  Q   Okay.     So to your knowledge, this hasn't

16        really been put elsewhere.               Like I said, to your

17        knowledge, this list hasn't been put elsewhere but

18        just this website.

19                              MS. FORD:      I'm going to just object

20        that it calls for some speculation.

21                              THE WITNESS:        Right.

22                              MS. KRAMER:        I understand.             I'm just

23        asking the witness just to her knowledge, just right

24        now, if she knows of it being published anywhere else.

25                              THE WITNESS:        I don't know.

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1         BY MS. KRAMER:

2                   Q   Okay.     And I just want to clarify that what

3         you're viewing, and also to your knowledge, this

4         website's not operated by True the Vote; correct?

5                   A   That's correct.

6                   Q   And it doesn't appear to be operated by any

7         of the defendants, in your opinion?

8                   A   That's correct.          To what I can see on

9         this -- until "Banks County, Georgia," until the

10        "Resources" line, I -- I don't remember --

11                  Q   We can scroll.

12                  A   -- recently.

13                              MS. KRAMER:        Thank you, Bailey.

14                  Q   So, Ms. Heredia, did you see any of the

15        defendants' names on this website?

16                  A   I did not.

17                  Q   Okay.     Thank you.

18                              MS. KRAMER:        Bailey, can we please pull

19        up Exhibit F again?

20                              TECH CONCIERGE:          This is Exhibit F.

21                              MS. KRAMER:        Perfect.       Perfect.

22        BY MS. KRAMER:

23                  Q   Okay.     Ms. Heredia, I just want to go back

24        and just kind of discuss the basis of the challenge,

25        from what's in the complaint and from what you

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1                               VIDEOGRAPHER:         The time is 15:09; we're

2         back on the record.

3                               MS. KRAMER:        Great.       Bailey, can we

4         please pull up Exhibit L?

5                               TECH CONCIERGE:          Please stand by.        This

6         is Exhibit L.

7                               (Exhibit L was marked for

8                               identification.)

9         BY MS. KRAMER:

10                  Q   Ms. Heredia, does this document look

11        familiar to you?

12                  A   Yes.     I provided this document.

13                  Q   And was this what you received from U.S.P.S.

14        when you changed your mailing address?

15                  A   That's correct.

16                  Q   And just so I know, because I don't believe

17        it has it on this document, this was when you changed

18        your mailing address from Banks County to Atlanta

19        during 2020; right?

20                  A   That's correct.

21                  Q   Okay.     And you have not submitted another

22        one of these forms until September of 2021?

23                  A   Actually, I submitted another one previously

24        to September of 2021.

25                  Q   When did you submit another one of these?

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1                   A      I believe it was March of 2021, because

2         the -- this mailing -- this mailing -- this forwarding

3         mailing address was set to Decatur, Georgia, and the

4         contract for the apartment for this -- for

5         Decatur -- expired.              So I wanted to have another, you

6         know -- I -- so because the contract expired for the

7         Decatur apartment, I then got another apartment in

8         West Midtown.            So I submitted a change of address to

9         West Midtown in March of 2021.                    And then I submitted

10        another change of address for Banks County in --

11        around September 2021.

12                  Q      Okay.     So just to clarify, you had not

13        submitted a change of address form -- let me rephrase

14        that.         To clarify, during the 2020 election cycle,

15        this was the only change of address form that you had

16        filed with U.S.P.S.?

17                  A      Yes.     That's correct.

18                  Q      And this is what they had on file -- the

19        Atlanta address -- as your mailing address.                           Right?

20                  A      Yes.     That's correct.

21                  Q      Okay.     And from March 2021 to September of

22        2021, your mailing address was then West Midtown?

23                  A      That's correct.

24                  Q      Okay.     And it wasn't until recently -- I'm

25        just trying to get these dates right.                        And it wasn't

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1         until recently that you submitted another change of

2         address form to have your mailing address be in Banks

3         County?

4                   A   Correct.      I don't know the exact date, but

5         it was around September.

6                   Q   So fairly recently.

7                   A   Fairly recent; correct.

8                   Q   Okay.     Okay.     Just wanted to clarify that.

9         Great.

10                              MS. KRAMER:        Bailey, we can take this

11        exhibit down.

12                  Q   So Ms. Heredia, I want to discuss with you

13        next kind of like the basis for this lawsuit under

14        which you felt as though you were being intimidated

15        and targeted.         What made you feel intimidated?

16                  A   So when I went to go vote, I -- you know,

17        I'm relatively new to voting.                And I thought it would

18        be a super-easy process; you know, just get in line

19        and you cast your vote.             But it ended up being a

20        longer process for me.

21                      I -- I learned that my vote was being

22        challenged as I was there, and I actually didn't know

23        what that even meant.            And -- and when I was

24        challenged, I was the only Hispanic there voting.                       And

25        I noticed that the only other race besides white who I

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1         believe was also challenged -- well, she casted a

2         paper ballot -- was Asian.

3                       I put it -- you know, I connected the two,

4         and I thought that they were -- people of color were

5         being challenged.         And that made me feel intimidated.

6         And like I said, I didn't know what that even was, and

7         I didn't even know if it was legal.                    So that made me

8         feel intimidated.

9                   Q   But to clarify what you testified earlier,

10        you don't know if the lady that was behind you -- the

11        Asian lady -- if she was being challenged or not.                       You

12        just know that she was voting by provisional ballot.

13        Right?

14                  A   That's correct.

15                  Q   Okay.    And while you were at the polling

16        location, you said that you voted via provisional

17        ballot and this other lady.               About how long would you

18        say that you were at that polling location for?

19                  A   Maybe three to four hours.                So I -- when I

20        went to vote, I think I voted early -- actually, I

21        can't remember.        But there was a line and, you know, I

22        got in line to vote; and then when I casted my vote

23        through the paper ballot, I was told that I would have

24        to provide two forms of identification saying that I

25        do live in Banks County.

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1                       And so because of that, I either had to go

2         all the way home and find, you know, the forms of

3         identification; or, you know, at the time, I decided

4         to search my car.         So I searched my car for those two

5         forms, and then I had to get back in line -- like, the

6         back of the line -- and wait in line again.                        So it

7         took longer than I expected.

8                   Q   I understand.         Just a guess:           How long were

9         you actually inside the physical polling location for?

10        Not the line, but where you go to actually vote and

11        give the election worker your ID and things like that.

12        How long would you say you were in that room for?

13                  A   Twenty minutes, roughly.

14                  Q   Okay.    And you don't remember if you voted

15        early or if you voted on election day?

16                  A   I -- I don't remember.

17                  Q   Okay.    So you were inside that room where

18        the voters are for about 20 minutes, and you were the

19        only Hispanic person that you saw, being challenged

20        during that time.         Are you aware that there were

21        multiple days to go vote in person in Georgia?

22                  A   Yes.    I'm aware.

23                  Q   Okay.    So there could have been other people

24        being challenged on different days, but you didn't see

25        any of them.

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1                             MS. FORD:        Objection.         Calls for

2         speculation.

3                             MS. KRAMER:          I'll rephrase.

4         BY MS. KRAMER:

5                   Q   So you say that you felt intimidated because

6         you were the only Hispanic person there that was being

7         challenged, that you saw.              I'm just clarifying that

8         that you were only in that room for a period of

9         approximately 20 minutes out of the entire time of

10        early voting and election day voting.                     And that's that

11        time period in which you felt intimidated.

12                  A   So the Banks County -- where you go vote in

13        Banks County, it's a very, very small room.                        I believe

14        there's only two machines, and they were only letting

15        two people vote, and then one person who was in line,

16        in the location.

17                      So in that little tight space, I was only

18        there for 20 minutes; but actually at the location

19        where, you know, the line -- the line actually wrapped

20        around the building, because there was just not enough

21        space to be inside the voting -- like, inside the

22        actual building, which -- so I was actually there for

23        around three to four hours.               And that's the period

24        that I felt very intimidated.                Like, even when I went

25        home, I was still shocked.

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1         whether my vote was counted, and it was on the Banks

2         County website -- the phone number.                     And I called

3         several times, and nobody picked up.

4                   Q   When was the last time that you called Banks

5         County to figure out if your vote was counted?

6                   A   Maybe February of 2020.                 So like, within the

7         same time frame; not recently.

8                   Q   Do you mean to say February 2021?

9                   A   Oh, sorry.       February of 2021.

10                  Q   That's okay.        And so at what point -- about

11        when did Fair Fight reach out to you?

12                  A   I don't remember the exact date, but I

13        remember it was months later.

14                  Q   Months later.         So like, months had passed

15        since the last time you had tried to call the

16        elections office to figure out if your vote was

17        counted?

18                  A   It was so long ago that I don't remember the

19        exact date.      But it could have been a month later,

20        months later -- I can't -- I can't say when it was.                        I

21        just don't remember.

22                  Q   Okay.    That's fine.          When you tried to reach

23        the elections office in Banks County, did you ever

24        leave a message with the County?

25                  A   I don't remember if that was possible.

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1                   Q   Did you ever file a complaint with the

2         County?

3                   A   No.

4                   Q   Did you ever email the County?

5                   A   No.     I don't -- I don't even know where --

6         like, who to email about it.

7                   Q   Okay.     So who did you call at Banks County,

8         if you went to the website?

9                   A   At this point in time, I don't remember.                   So

10        on the website, there was just -- it said, like, you

11        know, polling hours; you know, information on how to

12        vote; and then it was, like, if you have any

13        questions, issues, whatever, the number was there.

14                  Q   Okay.     Do you have a guess of about how many

15        times you called that number -- just a rough guess?

16                  A   Maybe, like, five times.

17                  Q   Okay.     But you didn't try to reach out to

18        the County another -- or did you look through the

19        County website to find if there was an email address?

20                  A   I was looking for, like, any type of contact

21        information.        So I feel like if there was an email, I

22        would have found it.           All I remember was there being a

23        phone number.

24                  Q   Okay.     Besides calling the elections office

25        and the voter rights hotline, did you call any

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1         other -- well, I guess you talked to the Secretary of

2         State, you said.         Did you talk to any other hotlines

3         or people, officials, about your concerns about your

4         vote?

5                   A   I just talked to Christina when -- I just

6         talked to the hotline, and then Christina contacted me

7         from Fair Fight.         So just them and the Banks County

8         contact.

9                   Q   Okay.    Have you talked to anybody from Banks

10        County up to this point?

11                  A   No.

12                  Q   Were you ever notified that you had been

13        removed from the voter list?

14                  A   I have not been -- have I been contacted?

15                  Q   Correct.

16                  A   I have not been contacted.

17                  Q   So to your knowledge, you are still on that

18        voter list in Banks County?

19                  A   To my knowledge, I could still be on that

20        challenged voter list.

21                  Q   Okay.    I'm just clarifying that no one's

22        contacted you, and that you haven't received anything

23        notifying you, that you're in jeopardy of being taken

24        off the list.

25                  A   You say in jeopardy of being taken off the

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1         list of challenged voters?

2                   Q    No; not of challenged voters.                  Of being

3         taken off the list of registered voters for Banks

4         County.

5                   A    Correct.      I have not been contacted by

6         anyone from Banks County.

7                   Q    Okay.    And just to clarify, since February

8         of this year, you haven't tried to reach back out to

9         Banks County to find out if your vote was counted?

10                  A    That's correct.          I haven't contacted Banks

11        County.       But I did -- I don't know, I guess

12        recently -- look at the voter registration page to see

13        if there was anything that would say if my vote was

14        counted or not.

15                  Q    Okay.    And you're still able to log into the

16        Banks County -- are you still able to log into your

17        voter registration page for the State of Georgia?

18                  A    Yes.

19                  Q    And it still says that you're a registered

20        voter?

21                  A    Yes.

22                  Q    Okay.    Just making sure.              So after Fair

23        Fight reached out to you -- or I guess -- who from

24        Fair Fight reached out to you?

25                  A    The only person I remember is Christina.

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1                   Q   You haven't talked to anybody else involved

2         with Fair Fight about this?

3                   A   My lawyer, Uzoma; and that's all, I believe.

4                   Q   And did she approach you, I guess, about

5         being a plaintiff in this lawsuit?

6                             MS. FORD:        Objection to the extent this

7         is going to get into attorney-client, confidential

8         conversations.

9                             MS. KRAMER:          I'll rephrase.

10        BY MS. KRAMER:

11                  Q   Did you ask to be a plaintiff in this

12        lawsuit, or did someone ask you to be a plaintiff in

13        this lawsuit?

14                            MS. FORD:        Jocelyn, I'm just going to

15        object and instruct you not to answer, to the extent

16        that you're going to reveal any conversations that you

17        had with me or Uzoma.

18                  Q   Who all did you communicate with regarding

19        your concerns about being intimidated as a voter?

20                  A   The hotline and Christina.

21                  Q   When you called the hotline, did they have

22        you fill out any kind of complaint or form or

23        documentation describing your experience?

24                  A   They took my story and what happened, and

25        that was all.

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1                   Q    And did they only communicate with you via

2         phone, or did they ever communicate with you in other

3         ways?

4                   A    Just phone.        Oh -- yeah; just phone --

5                   Q    Do you know --

6                   A    -- the hotline.

7                   Q    Oh, sorry.

8                   A    So for the hotline, it was just phone.                     And

9         then I've communicated with Christina through email.

10                  Q    Okay.    I understand that.              I was just more

11        trying to verify for the hotline that you called.                          And

12        do you recall the name of that hotline or where you

13        found that phone number?

14                  A    I don't remember the phone number; don't

15        remember, like, the actual name of the hotline.                       I

16        just know it was a voter rights hotline.

17                  Q    Okay.    I'm trying to figure out where you

18        found that number.           Did you Google it?              Did you ask a

19        friend?       How did you come across -- how did you know

20        to call this hotline?

21                  A    I'm pretty sure I Googled it.

22                  Q    Do you recall what you Googled when you were

23        trying to find out who to call?

24                  A    I think I -- so before I even called the

25        hotline, I did research on what being a challenged

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